 

 

UNITED STATES DISTRICT COURT I DEC 16 2022 |v)
EASTERN DISTRICT OF NEW YORK
——_« PRO SE OFFICE

 

 

 

 

 

SHERRY PRICE
Plaintiff Case No:1:22-cv-013131-DG-SJB
-against- AFFIDAVIT
BASDEO RAMPERSAD, et al.,

Assigned Hon: Sanket j. Bulsara
Defendant

 

STATE OF NEW YORK __)
COUNTY OF QUEENS *
Basedo Ramoersad , being duly sworn, deposes and states the truth of the following
under the penalty of perjury.
1. Iam one the Defendants in the above-captioned action and J am making this
Affidavit in support of our motion seeing the following relief:
a. An Order to Quash the Subpoena pursuant to the Federal Rules of Civil
Procedure Rule 45 dated November 4th", 2022 to TD Bank seeking to produce documents,.
Information ,or objects or to permit inspection of premises;; and
b. For such other and further relief as this Court deems just and proper.
MOTION TO QUASH
2: This case commenced on June 11", 2022 when the Plaintiff filed a Complaint.
On August 17", 2022 the Defendant(s) submitted an Answer with Affirmative Defenses

including lack of subject matter jurisdiction.. The Court issued an Order to Show Cause on

September 12,2022 as to why the Plaintiffs complaint should not be dismissed for lack of
subject matter jurisdiction. Upon the Plaintiff's request, the Court granted her an extension of
time to respond by October 17,2022.

3. Before the Court issued any decision on the Order to Show Cause or whether the
Plaintiff could file a motion to amend her complaint, the Plaintiff issue several subpoenas...These
Subpoenas include one to me dated September 13, 2022 in care of my former attorney, another
Subpoenas dated October 5, 2022 to my former employer, RCN Corporation, another dated
October 5 2022.. I spoke to Pro Se clerk and I was informed that since the Plaintiff is not an
attorney she did not have the authority to issue any subpoenas.

4 OnNovember 4", 22022 The Plaintiff issued another Subpoena to TD Bank
requesting the production of documents, information , or objects. Annexed hereto as Exhibit “A”
is a copy of the subpoena. Contrary to Fed. .R. Civil .P 45(a)(4) I was never served with a copy
of this Subpoena. I only received notice about the subpoena from the bank. OOnce again, I was
informed by the pro Se clerk that the Plaintiff did not have the authority to issue this Subpoena.

5.. No prior application has been made for the relief sought herein.

WHEREFORE, it is respectfully requested that the Defendant’s Order to Show Cause

be granted in its entirety together with such other and further relief as this court deems just and

 

proper.
Basdee Lame wged
BASDEO RAMPERSAF
Sworn to before me this
15™ day of December, 2022 ROBERT G. FRANK

NOTARY PUBLIC, STATE OF NEW YORK

Registration No. 02FR4954784
Qualified in Queens County
Ac # Commission Expires Aug. 14,

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AO 88B (Rev. 02/14) Subpoena to Produce Doctnuents, information, or Objects or tv Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
EASTERN DISTRICT OF NEW YORK
_—... SHERRY PRICE

Plaintiff
Vv.

Civil Action No, 1:22-cy-03 131-DG-SIB

BASDEO RAMPERSAD, etal.
Defendant

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SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

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(Name of person to whom this subpoena is directed)

Production: YOU ARE, COMMANDED to produce at the time, date, and place set forth below the following

documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: A list and description of all records, documents, information, and data see attachment.

 

Place: Sherry Price

Date and Time:
243-10 L38th Ave # 2F November 25, 2022 al 10 AM
Rosedale, NY 11422

 

 

 

 

Cl inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, iand, or
other property possessed or controlled by you at the thue, date, and location set forth below, so that the requesting party
may inspect, measure, survey. photograph, test, or sample the properly or any designated object or operation on it.

Pee ~ ee "T Date and Time:

 

 

 

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wot The following provisions of Fed. R. Civ. P. 45 ave atiached — Rutle 45(c), relating to the place of compliance;
Rule 45(q), relating to your protection as a person subject to 2 subpoena: and Rule 45fe) and (w), relating to your duty to
>regpaai.te this subpocia And the potential consequences of not doing so.

~baaNOY 6 4 26? pENNA B, MAHONEY

ee, CLERK OF COURT

: Grou °"
* cranence, Eine Yorn Coase. swe semen oe
Signature pC

Attorney's signature

 

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Merk ov Deruty Merk

The name, address, e-mail address, and telephone number of the attorney representing (name ofparyy _ Sherry Price

 

whee cette see wetummee Vote ce senses sume ss uns cave ces... Who issues or requests this subpoena, are:
243-10 138th Ave # 2F, Rosedale New York 11422; Sherry Price@eutlaok.com; 718-809-0912.

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the

inspection of premises before trial, a notice and a copy of the suvpoena must be served on each party in this case before
it is served on the person to whom it ts directed, Fed, R. Civ. P. 45(a)(4). ,
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UNITED STATES 55 STRICT COURT
KASTERN DISTRICT OF NEW YORK

Case No. 1:22-¢ ¥-03131-DG-SIR

SHERRY PRI CE,
Plaimiiff,

Vv.

BASDEO RAMPERSAD et al.,
Defendants.
Ce
SUBPOENA REQUEST

The following items must be produced forthwith to:

Sherry Price

243-10 138" Ave # OP

Rosedale, NY 11422

Phone: 718-809-0912

Email: Sherry _Price@outlook.com

RE: Basdeo Rampersad et al.

Any and ail records, notes, electronic communications, including any electronic data
transaction file reflecting, referring, and relating to all accounts held in the name of
Basdeo Rampersad and Rajdaye Babwah individually or
jointly with any person or entity, including but not limited to:

All accounts opening documents, inchiding signature cards, and any changes made,
including power of attorney, or adding or subtracting individuals trom the account

Account closing documentation

Change of address for any and al] accounts
Trusted contact form or names of persons permitted view only
Powers of attorney

Monthly statements for all accounts

Deposit tickets and offset items for all accounts

Withdrawals — slips and type for all accounts

Checks — back and front for all accounts

Bank checks — certified checks, cashier’s checks; official checks or teller’s checks for all
accounts

Money orders

Wire transfers — in or out of all accounts — with detail showing origins and destinations,
account numbers and financial institutions; any other ACH documentation

Debit card activity and location

Prepaid and debit cards

ATM withdrawals and location

Related credit card activity

Mortgage documents — including openirg documents, periodic statements and subsequent
amendments or changes of any kind; tax returns, payment history and method and

financial statements of any kind, including documents from the title attorney

Loan documents — including opening documents, periodic statements and subsequent

amendments or changes of any kind: tax returns; payment history and method; financial
statements of any kind

Any and all teller notes and bank employee notes of any kind

Notary log, with transactions related to customer
Currency Transaction Reports
Tax statements: Forms 1099 and any other relevant form state or federal tax forms

Safe Deposit box records including opening documents, Signature cards, access record
logs and any closing documents

Any and all online banking information, including email or other addresses

PLEASE DO NOT DICLOSE THE EXISTANCE OF THIS SUBPOENA AS IT
COULD HINDER AN ON-GOING CRIMINAL INVESTIGATION

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